O AO 247 (N C/W 03/08) O rder Regarding M otion for Sentence Reduction



                                        U NITED STATES D ISTRICT COURT
                                                                         for the

                                                        Western District of North Carolina

                     United States of America                              )
                                v.                                         )
                                                                           )   Case No:    5:98CR289
                           Mark Julius Baber
                                                                           )   USM No: 20186-058
Date of Previous Judgment:            07/10/2000                           )   Tanzania C. Cannon-Eckerle
(Use Date of Last Amended Judgm ent if Applicable)                         )   Defendant’s Attorney


                      Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,

IT IS ORDERED that the motion is:
        DENIED .    GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                     the last judgment issued) of               months is reduced to                                      .



REASON FOR DECISION:


Defendant, through counsel, withdrew his §3582(c)(2) motion on August 15, 2008. (See Document #426)




IT IS SO ORDERED.



                                                                                     Signed: August 18, 2008




                    Case 5:98-cr-00289-KDB                      Document 427              Filed 08/18/08    Page 1 of 1
